                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

IN THE MATTER OF:                                            §        CASE NO. 17-51014
                                                             §
KNIGHT ENERGY HOLDINGS, LLC,                                 §        CHAPTER 11
et al.1,                                                     §
                  Debtors                                    §        JOINTLY ADMINISTERED


                          NOTICE OF HEARING ON
       MOTION FOR RELIEF FROM STAY PURSUANT TO 11 U.S.C. §362 WITH
             INCORPORATED MEMORANDUM IN SUPPORT, FILED BY
     SHEILA TURNER, INDIVIDUALLY AND AS NEXT FRIEND OF DAVID JUSTIN
    TURNER, JR. AND ALEIGHA TURNER, MINOR CHILDREN AND DANNY EARL
    CAIN AS REPRESENTATIVE OF THE ESTATE OF DAVID JUSTIN TURNER AND
     AS NEXT FRIEND OF DAVID JUSTIN TURNER, JR. AND ALEIGHA TURNER,
       MINOR CHILDREN, DAVID BRYAN TURNER, INDIVIDUALLY, MICHAEL
      BROWN, JOHNNY MULLINS, ERIC JUAREZ, AND ARMANDO GONZALES
      REGARDING LITIGATION IN THE 295TH JUDICIAL DISTRICT COURT FOR
                          HARRIS COUNTY, TEXAS


TO ALL PARTIES IN INTEREST:

       PLEASE TAKE NOTICE that SHEILA TURNER, INDIVIDUALLY AND AS NEXT
FRIEND OF DAVID JUSTIN TURNER, JR. AND ALEIGHA TURNER, MINOR CHILDREN
AND DANNY EARL CAIN AS REPRESENTATIVE OF THE ESTATE OF DAVID JUSTIN
TURNER AND AS NEXT FRIEND OF DAVID JUSTIN TURNER, JR. AND ALEIGHA
TURNER, MINOR CHILDREN, DAVID BRYAN TURNER, INDIVIDUALLY, MICHAEL
BROWN, JOHNNY MULLINS, ERIC JUAREZ, AND ARMANDO GONZALES have filed a
MOTION FOR RELIEF FROM STAY PURSUANT TO 11 U.S.C. 362 WITH
INCORPORATED MEMORANDUM IN SUPPORT REGARDING LITIGATION IN THE
295TH JUDICIAL DISTRICT COURT FOR HARRIS COUNTY, TEXAS in the captioned case
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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, are Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case No.
17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well Services,
LLC (4156) (Case No. 17-51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
Management, LLC, (0510) (Case No. 17-51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
Information Systems, LLC (0000) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17- 51022);
Rayne Properties, LLC (0000) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight
Research & Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No. 17-
51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investments, LLC (0000) (Case No. 17- 51029).
The Debtors’ service address is 2272 SE Evangeline Thruway, Lafayette, Louisiana 70508 other than Knight
Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing, LLC’s service
address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training Management,
LLC’s service address is 1042 Forum Drive, Broussard, Louisiana 70518.

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as provided under Chapter 11 of Title 11 of the United States Code and has requested that the
court issue an order lifting the automatic stay of 11 U.S.C. §362 and 1) permitting Movers to
continue prosecution of their claims as detailed herein, 2) to liquidate their claim against any
insurer, but not to enforce any judgment against Knight or the estate without further order of this
Court, 3) to conduct discovery including discovery involving Knight, 4) to continue the
Proceeding with Knight as a nominal party, 5) to generally conduct the prosecution of the
Proceeding, and 6) for such other relief as the court deems due and appropriate.

      NOTICE IS FURTHER GIVEN that CRISTIAN RENTERIA, INDIVIDUALLY, AS
INDEPENDENT ADMINISTRATRIX OF THE ESTATE OF JUAN RENTERIA, DECEASED,
AND AS NEXT FRIEND OF JULISSA RENTERIA AND MIGUEL RENTERIA, MANUEL
NIETO AND DOMITILA RENTERIA have requested a hearing on this motion for relief from
stay which has been scheduled for DECEMBER 12, 2017 AT 10:00 A.M. before the
Bankruptcy Judge in his Courtroom, First Floor, 214 Jefferson Street, Lafayette, Louisiana.

       RESPONSE DEADLINE IS DECEMBER 4, 2017.

      This Hearing is scheduled on and IF AND ONLY IF basis. Any Answer, Objection
or Opposition to the Motion Should be filed with the Clerk’s Office and Mailed to the
Movant’s Counsel WITHIN SEVENTEEN (17) DAYS of the Mailing Date shown on the
Movant’s Certificate of Mailing of the Motion for Relief from Stay.

       You are hereby notified to take part in this hearing if you deem same necessary.

       Lafayette, Louisiana, this November 17, 2017.

                                                            Respectfully submitted,

                                                            /s/ J. David Andress
                                                            J. David Andress (# 27944)
                                                            Andress | Inzina, LLC
                                                            218 Rue Louis XIV, Suite A
                                                            Lafayette, Louisiana 70508
                                                            Telephone: (337) 347-9919
                                                            Facsimile: (337) 541-2553
                                                            Email: david@andressinzina.com
                                                            Attorney for Movers




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